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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION



Bryan Torr                               §
                                         §
versus                                   §            Case Number: 4:18−cv−02908
                                         §
Rowan Companies, Inc.                    §

                           Notice of Reassignment

      Pursuant to Special Order No. 2019−3, this case is reassigned to the docket of
United States District Judge George C Hanks, Jr. Deadlines in scheduling orders
remain in effect, and all court settings are vacated


Date: September 3, 2019
                                                             David J. Bradley, Clerk
